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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

SHAJI BROWN                                    *       CIVIL ACTION NO. 21-843
                                               *
versus                                         *       SECTION: I
                                               *       HON. LANCE M. AFRICK
ALABAMA GREAT SOUTHERN                         *
RAILROAD COMPANY                               *       MAGISTRATE NO. 5
                                               *       MAG. JUDGE MICHAEL B. NORTH
* * * * * * * * * * * * * * * * * *

        THE ALABAMA GREAT SOUTHERN RAILROAD COMPANY’S
  RESPONSE TO PLAINTIFF’S SUPPLEMENTAL BRIEFING AS REQUESTED BY
                    THE COURT (Rec. Doc. 53 and 56)

         Defendant, The Alabama Great Southern Railroad Company (“AGS”), respectfully

submits this memorandum responding to Plaintiff Supplemental Brief (Rec. Doc. 56), as ordered

by the Court in the Order and Reasons (Rec. Doc. 53).          The Court ordered “… Brown shall

submit supplemental briefing with respect to the evidence he would offer at trial regarding his

work-life expectancy if Rice is not permitted to testify as to that issue.” Id.       Plaintiff’s

supplemental briefing does not identify evidence that would be offered in the event Rice is not

permitted to testify.   Instead, plaintiff attempts to correct deficiencies in Rice’s report by

supplementing Rice’s analysis with new evidence and authority, as set forth in the proposed

addendum report. Plaintiff’s request to supplement Rice’s report goes beyond the Court’s order

and seeks new relief from the Court. AGS respectfully requests that the Court strike Rice’s

addendum report and preclude plaintiff from supplementing his expert report after the close of

discovery, after the deadline for expert disclosures, and on the eve of trial.


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           Rice’s only timely filed expert report includes zero authority, statistical averages, or

evidence supporting work life expectancy. The sources cited in the purported addendum report

were not identified by Plaintiff during discovery, produced as an exhibit, or included in the

original report filed pursuant to the Court’s scheduling order. Plaintiff now seeks leave to offer

an addendum report, outside the clear directives set forth in the scheduling order, in response to a

request for additional briefing on what evidence Plaintiff would offer if Rice were excluded.

AGS respectfully asks that the Court deny plaintiff’s request to supplement Rice’s report and

find that Plaintiff has identified zero evidence to be offered in the event Rice is not permitted to

testify.

           In the event Rice is not permitted to testify, plaintiff will not have expert testimony

regarding his work life expectancy. Plaintiff would be unable to introduce the statistical tables

referenced in the supplemental briefing as these tables were not identified on Plaintiff’s exhibit

list (Rec. Doc. 36) or the joint pretrial order (Rec. Doc. 54). Plaintiff’s supplemental briefing

does not identify evidence that would be offered in the event Rice is not permitted to testify.

Given this lack of evidence, AGS’s respectfully requests that the Court reconsider and enter an

Order granting AGS’ Motion to Exclude the testimony of Dr. Randolph Rice (Rec. Doc. 42 and

53).




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                                   Respectfully submitted,

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